Fill in this information to identify your case:

 

 

 

 

Debtor 1 JOHN Cc. STRANGE
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of New Mexico
Case number () Check if this is an
(if known) amended filing

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/45

If you are an individual filing under chapter 7, you must fill out this form if:
® creditors have claims secured by your property, or
= you have leased perscnal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

[f two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the fonn.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. Gn the top of any additional pages, write your name and case
number (if known).

Ga List Your Creditors Who Have Secured Claims

f

1, For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below. |

 

: :
: |
_ Creditor’s M4 Surrender the property. L) No
FURIE emma inn ~NewRez ) Retain the property and redeem it. Mi Yes
: Description of 25 Llano Del Norte Placitas, NM 87043 C) Retain the property and enter into a i
| Property
i | Reaffirmation Agreement. :
| securing debt: i
i

() Retain the property and [explain]: i

 

 

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Debtor 1 JOHN Cc. STRANGE Case number (if known)
First Name Middie Name Last Name
BF sccitionar Page for Part 1
Creditors ( Surrender the property. No
name: Jaguar Financial Services (2 Retain the property and redeem it. L) Yes
Description of =. 201 Jaguar XJ WA Retain the property and enter into a
property debt Reaffirmation Agreement.
securing debt:
: 9 () Retain the property and [explain]:
‘Creditor’s MW Surrender the property. Mi No
NAME! ...,...... New Mexico Taxation & Revenue Dept. ©) Retain the property and redeem it. L Yes
Description of 25 Llano Del Norte Placitas, NM 87043 CO Retain the property and enter into a
property debt Reaffirmation Agreement.
securing debt:
i 9 (CC Retain the property and [explain}:
i
Creditor's wi Surrender the property. wi No
name: fee te internal Revenue Service - ) Retain the property and redeem it. QO) Yes
Description of 25 Liano De! Norte Placitas, NM 87043 © Retain the property and enter into a
property Santa Fe Federal Credit Union #1262 Reaffimation Agreement
securing debt: Bank of America #4036 . ;
Bank of America #9261 C) Retain the property and [explain]:
Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page

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Debtor 1 JOHN Cc. STRANGE Case number (if known)
First Name Middle Name Last Name

List Your Unexpired Personal Property Leases
| Fer any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G}, fill in the information

below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
: property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Ss

   
 

 

 

 

 

33 aE
Lessors name Brinks Home Security Mi No :
. soos an sgnascnee ves
Description of leased
property: Home security services for 25 Llano Del Norte
Lessors name: Hippele, Raymond LC} No
Description of leased
property: 2501 NE 11th Street, Ft. Lauderdale
Lessor’s name: CJ No
scout un sn ea ves
Description of leased
property:
;  Lessor’s name:
: Description of leased
property:
Lessor’s name: OC) No
CQ) Yes
Description of leased
property:
Lessors name: {J No
CI Yes
Description of leased
property:
Lessor’s name: CJ No
scocnnpaguteeningeinareeabugy einys ws hose ect wo atatonai ssn Soe cnnnnrnannnan A
+ _ Description of leased
; property:

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:

Under ty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that

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e! Signature of Debter 2

SA1-20-O019 oats

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